Case 0:19-cv-60099-BB Document 26 Entered on FLSD Docket 01/02/2020 Page 1 of 2


                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 19-cv-60099-BLOOM/Valle

 DAVID ABELLARD, JR.,

        Plaintiff,

 v.

 WELLS FARGO BANK, N.A.,

       Defendant.
 ________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the parties’ Joint Stipulation for Dismissal with

 Prejudice, ECF No. [25] (“Stipulation”), filed on January 2, 2020. The Court has carefully

 reviewed the Stipulation and the record, and is otherwise fully advised.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Stipulation, ECF No. [25] is APPROVED;

            2. The above-styled case is DISMISSED WITH PREJUDICE;

            3. Each party shall bear its own attorneys’ fees and costs;

            4. To the extent not otherwise disposed of, all pending motions are denied as MOOT

                and all deadlines are TERMINATED;

            5. The Clerk of Court is directed to CLOSE this case.

        DONE AND ORDERED in Chambers at Miami, Florida, on January 2, 2020.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
Case 0:19-cv-60099-BB Document 26 Entered on FLSD Docket 01/02/2020 Page 2 of 2

                                               Case No. 19-cv-60099-BLOOM/Valle
 Copies to:

 Counsel of Record




                                       2
